            Case 1:20-cv-01477-KNF Document 47 Filed 10/15/20 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X
CHRISTOPHER DANUSIAR,                                                                   :
                                                                     :
                             Plaintiff,                              :        ORDER
                                                                     :
         -against-                                                   :   20-CV-01477(KNF)
                                                                     :
AUDITCHAIN USA, INC., a Delaware corporation,
Matreya.io, LLC a Delaware limited liability
corporation, and Jason M. Meyers, individually,                                     :
                                                                   :
                              Defendants.                          :
-----------------------------------------------------------------X
KEVIN NATHANIEL FOX
UNITED STATES MAGISTRATE JUDGE


         IT IS HEREBY ORDERED that a telephone conference shall be held in the above-

captioned action on October 22, 2020, at 10:00 a.m. All parties are directed to call (888) 557-

8511 and, thereafter, enter access code 4862532.

Dated: New York, New York                                  SO ORDERED:
       October 15, 2020
